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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ELIZABETH BARBER, on behalf of herself
 and all others similarly situated,                     Civil Action No. 1:20-cv-01137-CJN

         Plaintiffs,

 v.

 ELISABETH DeVOS, in her official
 capacity as United States Secretary
 of Education, and UNITED STATES
 DEPARTMENT OF EDUCATION,

         Defendants.


                                    JOINT STATUS REPORT

       Pursuant to the Court’s minute order of May 8, 2020, the parties hereby submit the

following Joint Status Report:

       1.       The parties are meeting and conferring regarding the possibility of resolving

Plaintiffs’ Amended Motion to Certify Class (ECF No. 10) and Motion for a Preliminary

Injunction (ECF No. 11) without the need for briefing or resolution by the Court.

       2.       Defendants state that they are continuing to endeavor to halt all wage

garnishments authorized under section 488A of the Higher Education Act of 1965 (20 U.S.C.

§ 1095a) or section 3720D of title 31, United States Code, as required by section 3513(e) of the

CARES Act. As of March 13, 2020, there were approximately 390,000 borrowers subject to

wage garnishment. As of May 7, 2020, there are approximately 54,000 borrowers still subject to

wage garnishment.

       3.       At present, the parties are discussing that, for a period of time, Defendants will

provide periodic reports on the status of these efforts in lieu of further briefing and consideration
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of the Motion for Preliminary Injunction [Dkt. 11]. The parties are still discussing the timing,

format, and content of these reports.

       4.       The parties are also discussing possible resolution of Plaintiffs’ class certification

motion or the scheduling of briefing that motion.

       5.       In light of these developments, the parties propose filing a further status report on

Thursday, May 14, 2020, setting forth the outcome of these discussions and, if briefing on either

motion is necessary, proposing a briefing schedule at that time. The status report will also

address the need for a hearing, a proposed date for any such hearing, and whether there are any

factual disputes that require an evidentiary hearing. See May 8, 2020, Minute Order.

       6.       Because under the Local Rules Defendants’ response to Plaintiff Craigory Lee

Jenkins’ Motion for Preliminary Injunction is due May 14, 2020, the parties request that that

deadline be stayed. The Parties will supplement their positions with respect to staying the

Motion for Preliminary Injunction in the May 14 status report, pending an agreement on the

timing, format, and content of the periodic reporting.




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Dated: May 11, 2020                             Respectfully submitted,
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